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Attorney for Plaintiff Nicole Stacey

                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


                                )
NICOLE STACY,                   )
            Plaintiff,          )                  Case No.:
                                )
       vs.                      )                  CIVIL COMPLAINT
                                )
                                )                  AND
EXPERIAN INFORMATION SOLUTIONS, )
INC., AND CAC FINANCIAL CORP,   )                  JURY TRIAL DEMAND
                                )
            Defendants.         )
                                )


                                          COMPLAINT

       Plaintiff, Nicole Stacy, on behalf of her                                            her

undersigned attorney, hereby sues Defendants, Experian Information Solutions, Inc. (hereinafter

               and CAC Financial Corp                                              (collectively

                and alleges as follows:

                                PRELIMINARY STATEMENT

1.     This is an action for damages arising from Defendants violations of the Fair Credit

Reporting Act, 15 U.S.C. § 1681, et seq. (the             and the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692, et seq
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                                JURSIDICTION AND VENUE

2.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331.

3.      Venue is proper in this district under 28 U.S.C §1191(b).

                                             PARTIES

4.     Plaintiff, Nicole Stacy, is a natural person, who at all relevant times has resided in city of

Wilton, Fairfield County, state of Connecticut,

1681a(c) of the Fair Credit Reporting Act.

5.     Defendant Experian Information Solutions, Inc. is a business entity that regularly

conducts business in Connecticut, with its principal place of business as 300 E. 9th St. Ste. 1815,

Cleveland, OH 44114                                                         defined by 15 U.S.C. §

1681a(f) of the Fair Credit Reporting Act.

6.     Defendant CAC Financial Corp is a business entity that regularly conducts business in

Connecticut, with its principal place of business as 2601 NW Expressway, Suite 1000 East,

Oklahoma City,

                                   FACTUAL STATEMENT

7.      In the June of 2015, Plaintiff entered into an agreement with Synchrony Bank to alter

the amounts of her monthly payments and tweak the applicable interest rate (hereinafter the



8.     Plaintiff entered into this agreement when faced with some difficult financial times. The

agreement entered into between Plaintiff and Synchrony allowed for Plaintiff to make payments

in the amount of $10.00, or an amount equal to 2.1% of the outstanding balance on that particular

statement. Whichever amount was greater was to be appropriate payment for that month. A




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copy of the letter from Synchrony memorializing the agreement is attached hereto marked

    Exhibit A

9.            From the date in which Plaintiff and Synchrony entered into that the Agreement, up to

and including the date of this filing, Plaintiff has made timely, amount appropriate, payments.

The high balance on the account was $2,181.00. A quick calculation would reveal that the most

any individual monthly payment could be, would be $45.80.

10.

she has made payments of no less than $50.00 each month. In fact, in certain months, Plaintiff

paid in the amount of $56.00, $60.00 and $75.00, but no less than $50.00.

11.           From the beginning of this agreement, Synchrony has furnished information to Equifax,

Transunion and Experian which indicates Plaintiff has been late each and every month.

12.           Plaintiff reached out to Synchrony on multiple occasions regarding the issue, and each

time she was advised that it was a mistake and would be corrected. To date, it has not been

rectified.1

13.           Plaintiff then took it upon herself to notify all three credit bureaus of the discrepancies.

Same was done through a certified mailing with return receipt requested. The dispute letters

were mailed on December 15, 2016. A copy of all three letters and the proof of mailings are

                                         Exhibit B

14.

from Defendant CAC, alleging that the Synchrony account was placed with them for collection.

Plaintiff immediately sent a dispute letter to CAC. To date, no response has been received. At




1
    Plaintiff and Synchrony resolved the issue prior to the filing of this complaint.




                                                                             3
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the time the letter was sent, there were no outstanding monies due, and Plaintiff had not

defaulted on the payment arrangement.

15.           In correspondence dated January 5, 2017, Transunion provided the results of their

reinvestigation in r

which indicate Plaintiff was late on her monthly payments from June of 2015 through the then

current month.2

16.           In correspondence dated January 20, 2017, Experian provided the results of their



indicate Plaintiff was late on her monthly payments from June of 2015 through the then current

month.

17.           Plaintiff received no response from Equifax but ran a copy of her Equifax specific report

on January 18, 2017. The report, and specifically the Synchrony tradeline, had been updated as

of January 13, 2017. The tradeline still listed Plaintiff as being late on her monthly payments

from June of 2015 through the then current month.3

18.

a mortgage as she is currently seeking to purchase real property.


                                                  COUNT I
                             VIOLATION OF THE FAIR CREDIT REPORTING ACT
                                           15 U.S.C. § 1681, et seq.
                                       (As to Defendant Experian Only)

19.           Plaintiff repeats, realleges, and reasserts the allegations contained in the paragraphs 1

through 18 and incorporates them as if specifically set forth at length herein.

20.           In the June of 2015, Plaintiff entered into the Agreement with Synchrony Bank.


2
    Plaintiff and Transunion resolved the issue prior to the filing of this complaint.
3
    Plaintiff and Equifax resolved the issue prior to the filing of this complaint.



                                                                             4
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21.     Plaintiff entered into the Agreement when faced with some difficult financial times. The

agreement entered into between Plaintiff and Synchrony allowed for Plaintiff to make payments

in the amount of $10.00, or an amount equal to 2.1% of the outstanding balance on that particular

statement. Whichever amount was greater was to be appropriate payment for that month. See

Exhibit A.

22.     From the date in which Plaintiff and Synchrony entered into the Agreement, up to and

including the date of this filing, Plaintiff has made timely, amount appropriate, payments. The

high balance on the account was $2,181.00. A quick calculation would reveal that the most any

individual monthly payment could be, would be $45.80.

23.

she has made payments of no less than $50.00 each month. In fact, in certain months, Plaintiff

paid in the amount of $56.00, $60.00 and $75.00, but no less than $50.00.

24.     From the beginning of this agreement, Synchrony has furnished information to Experian

which indicates Plaintiff has been late each and every month.

25.     Plaintiff then took it upon herself to notify Experian of the discrepancies. Same was done

through a certified mailing with return receipt requested. The dispute letter was mailed on

December 15, 2016. See Exhibit B.

26.     By way of communication dated January 20, 2017, Experian

dispute. The tradeline furnished by Synchrony Bank remained, for all intents and purposes,

unchanged.

27.     Upon information and belief, and Defendant Experian failed to review all relevant

information and documentation available, failed to properly contact the furnisher of information,

and failed to take into account the assertions of Plaintiff in failing to delete the delete, or at the




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very least correct the tradeline to accurately reflect its true state, thus violating their duty under

15 U.S.C. § 1681i.

28.     Upon information and belief, Defendant Experian failed to follow reasonable procedures



information after being put on effective notice that the trade line was incorrect.

29.     With the failure to remove the Synchrony trade line, or with the failure to update the



society, is artificially deflated.

30.     Defendant Experian

entitled to relief.

                                    COUNT II
           VIOLATION OF THE FAIR DEBT COLECTIONS PRACTICES ACT
                              15 U.S.C. §1692, et seq.
                       (As to Defendant CAC Financial Only)

31.     Plaintiff repeats, realleges, and reasserts the allegations contained in the paragraphs 1

through 69 and incorporates them as if specifically set forth at length herein.

32.       In a letter dated December 18, 2016, Defendant CAC advised Plaintiff that they had

been retained to collect on the Synchrony debt.

33.     At the time of this letter, and at all times relevant to this litigation, Plaintiff was not

behind in her payments, there were no monies due and owing over and above what was agreed to

by both Plaintiff and Synchrony in the Agreement. The debt was not in default.

34.

mischaracterization of the legal nature and amount of the debt, as it was currently constituted.

As such, CAC is in violation of 15 U.S.C. §1692e(2)(A).

35.     Plaintiff has been damaged and is entitled to relief.



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                                           DAMAGES

       WHEREFORE, Plaintiff, Nicole Stacy, requests that this Court enter judgment against all

Defendants, and on behalf of Plaintiff for the following:

            A. That an order be entered declaring Defendant Experian actions, as described

                above, in violation of the FCRA;

            B. That judgment be entered against Defendant Experian for actual, statutory and



                and 1681o in an amount to be determined at trial.

            C. That an order be entered declaring Defendant          actions, as described above,

                to be in violation of the FDCPA;

            D. That judgment be entered against Defendant           for actual damages, pursuant

                to 15 U.S.C. §1692K(a)(1);

            E. That judgment be entered against Defendant           for statutory damages,

                pursuant to 15 U.S.C. §1692(a)(2)(A) and (B);

            F. T

                §1692K(a)(3); and

            G. That the Court grant such other and further relief as may be just and proper.




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Date: May 23, 2017
                                    Respectfully Submitted,


                                    s/ Peter M. Van Dyke                     /
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